

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. WR-76,570-01 &amp; -02






EX PARTE YEMIEL VICTORIO DELGADO, Applicant








ON APPLICATIONS FOR A WRIT OF HABEAS CORPUS


CAUSE NOS. 23747 &amp; 23886 IN THE 75TH DISTRICT COURT
FROM LIBERTY COUNTY 




	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for a writ of habeas corpus. Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated
kidnapping and aggravated sexual assault and sentenced to imprisonment for fifteen years on each
count. He did not appeal his convictions. 

	On September 20, 2011, the trial court signed orders designating issues. The habeas record
has been forwarded to this Court prematurely. We remand these applications to Liberty County to
allow the trial judge to complete an evidentiary investigation and enter findings of fact and
conclusions of law.

	These applications will be held in abeyance until the trial court has resolved the fact issues. 
The issues shall be resolved within 90 days of this order. If any continuances are granted, a copy of
the order granting the continuance shall be sent to this Court. A supplemental transcript containing
all affidavits and interrogatories or the transcription of the court reporter's notes from any hearing
or deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court. 

Filed: November 2, 2011

Do not publish 


	


